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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NICOLE T. WORTMAN and SHANE W.                 ) Case No.: 1:18-cv-04894
WORTMAN, individual, and on behalf of          )
all others similarly situated,                 ) The Honorable John J. Tharp Jr.
                                               )
               Plaintiffs,                     )
                                               )
               v.                              )
                                               )
RUSHMORE LOAN MANAGEMENT                       )
SERVICES, LLC                                  )
                                               )
               Defendant.                      )

            DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

       Rushmore Loan Management Services, LLC moves for an extension of time, up to and

including September 11, 2018, to respond to Plaintiffs’ complaint, and states as follows:

       1.      Rushmore was served on July 24, 2018, and by rule its responsive pleading is

currently due on August 14. Fed. R. Civ. P. 12(a)(1)(A)(i).

       2.      The undersigned were recently retained as counsel for Rushmore in this matter

and need more time to complete their investigation and prepare an answer, motion or other

pleading in response to the complaint. Rushmore therefore requests an additional twenty-eight

(28) days, up to and including September 11, 2018, to answer, move or otherwise plead in

response to the complaint.

       3.      Counsel for Plaintiff has no objection to the requested extension.

       4.      This motion is made in the interest of justice and not for the purpose of delay.
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       WHEREFORE, Rushmore Loan Management Services, LLC respectfully requests entry

of an order extending its time to answer, move or otherwise plead to the complaint up to and

including September 11, 2018, and granting such further relief as the Court finds just and

appropriate.

DATED: August 10, 2018                              RUSHMORE LOAN MANAGEMENT
                                                    SERVICES, LLC


                                                    By:     /s/ David F. Standa
                                                            One of Its Attorneys


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                                CERTIFICATE OF SERVICE

        I, David F. Standa, an attorney, certify that I caused the foregoing Motion for Extension
of Time to be served upon all persons and entities authorized and registered to receive such
service through the Court’s Case Management/Electronic Case Files (CM/ECF) system on
August 10, 2018.




                                                             /s/David F. Standa
